224 F.2d 716
    UNITED STATES of America, Plaintiff-Appellee,v.John HARRIS, Defendant-Appellant.
    No. 58.
    Docket 23153.
    United States Court of Appeals Second Circuit.
    Submitted June 28, 1955.
    Decided July 21, 1955.
    
      Simon S. Cohen, U. S. Atty. for Dist. of Conn., Hartford, Conn., and Francis J. McNamara, Jr., Asst. U. S. Atty., New Haven, Conn., for plaintiff-appellee.
      Hayden C. Covington, Brooklyn, N. Y., for defendant-appellant.
      Before CLARK, Chief Judge, and MEDINA and HINCKS, Circuit Judges.
      PER CURIAM.
    
    
      1
      Defendant Harris was neither given a résumé of the F.B.I. report on his claimed status as a conscientious objector, nor was he furnished with a copy of the recommendation of the Department of Justice in his case. Thus he was not afforded an adequate opportunity in the administrative hearings to rebut the adverse information and conclusions which these reports contained. These were procedural errors which the Supreme Court has held in decisions announced subsequent to the conviction, to constitute a deprivation of the fundamental right to a fair hearing, and consequently vitiate the administrative decision thus arrived at. Simmons v. United States, 348 U.S. 397, 75 S.Ct. 397; Gonzales v. United States, 348 U.S. 407, 75 S.Ct. 409.
    
    
      2
      The judgment of conviction is reversed and the case remanded for the entry of a judgment of acquittal.
    
    